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                                              December 8, 2023


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             Re:     Johnny M. Hunt v. Southern Baptist Convention et al.,
                     U.S.D.C. No. 3:23-cv-0243 (M.D. Tenn.)

      Counsel:

              We are in receipt of Plaintiff’s Notices of Deposition for Krista Tongring, Samantha
      Kilpatrick, Russell Holske, Anthony Collura, and Julie Myers Wood, all of whom are Guidepost
      employees. None of these individuals reside or work in Tennessee. Ms. Tongring and Ms. Myers
      Wood live and work in the Washington, D.C. Metro area; Ms. Kilpatrick and Mr. Holske live and
      work in North Carolina; Mr. Collura lives and works in the NY Metro area. Please be advised that
      Guidepost does not agree to produce these individuals for deposition in Nashville, Tennessee, nor
      does it agree to produce these individuals for deposition on the dates of January 16, 17 and 18 and,
      therefore, objects to the Notices as served.

               Finally, the Notices of Deposition regarding Ms. Tongring, Ms. Kilpatrick and Mr. Holske
      are not sufficient, inasmuch as these three individuals must be served with a subpoena to compel
      their testimony given that they are neither officers, directors nor managing agents of Guidepost.




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                                             Very truly yours,

                                             /s Katharine R. Klein

                                             Katharine R. Klein

cc:   All counsel of record




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